
The Supreme Court affirmed the judgment of the Common Pleas'on May 26, 1884, in the following opinion:
Per Curiam.
We are of the opinion that the Court below committed no error in the trial of this case. There are no less than ten assignments or error, but they contain nothing that is novel, or upon which this Court has not repeatedly passed. The ninth assignment embraces pretty much the whole case of the plaintiff in error, for if the danger of fire from the proximity of the proposed new tracks, was to be regarded as an element to be considered in the assessment of damages. The other instructions and rulings of which complaint is made, necessarily result from and depend upon it. As however, the case of the Wilmington &amp; Reading R. R. Co. vs. Stauffer, 60 Pa. 374, thoroughly covers the ruling here excepted to, we would but spend time uselessly in a re-discussion of the question thus settled. This point out of the way, the proof of the proximity of the railroad, and the necessity for the removal of the stables in consequence of the danger from fire were properly submitted to the jury as questions for their consideration. So, for the purpose of arriving at the damages to which the plaintiffs were entitled, proof was admissable to show that the danger to which the buildings would be exposed when locomotives began to run over the new tracks, was so obvious that their removal was demanded by . the ordinary dictates of prudence.
The judgment is affirmed.
